                                                                          FILrl
AO 442 (Rev. 11 /11) Arrest Warrant
                                                                    IN CLERKS OF ·ICE

                                                                                01      1m                COURT


                   United States of America
                                  V.                                           )
                                                                               )         Case No.         18-mj-2389-MBB
               FERNANDO CEDENO CARPIO                                          )
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                                                             ARREST WARRANT                                                                     r--->
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To:       Any authorized law enforcement officer
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          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge w ithout unne~sary delaf .
                                                                                                                                                            L.' ·
(name of person lo be arrested)        FERNANDO CEDENO CARPIO
who is accused of an offense or viol ation based on the fo ll ow ing docum ent fil ed w ith the co urt:
                                                                                                                                               - =o          I   /




                                                                                                                                                 ~
0 Indictment               0 Supersedi ng Indictment                0 Inform ation           0 Superseding Inform ati on                  ~ C~ laint
0 Probation V iolation Petition                0 Supervised Release Vi olati on Petition                      0 Violati on Notice         O Order of the Court

This offense is briefly described as follows:

  1. Misuse of Social Security Number, in violation of 42 U.S.C. 408(a)(7)(8)
  2. Aggravated Identity Theft, in violation of 18 U.S.C. 1028A




Date:          07/24/2018                                                          M<1WlrMlP a. lkxJarl ~J
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                                                                                                     f
                                                                                                              lss11i11g officer 's signature


City and state:          Boston, MA                                                          Marianne B. Bowler, U.S. Ma
                                                                                                          ,     Printed name and title


                                                                           Return

          This warran t was rece ived on (date)                          _ _ , and the person was arrested on (date)
at (city and stale)
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                       BY ARR EST/A RA IGNM NT OF THE
Date:   - - - - - - - -DE FEN DANT ON ___L,{2.~~'.2:t:2!:.== -:;;:;.r;;es7iti,;;;,g;-;o-:;i,ffir,;,c~e,;:-;.,s-;s~ig;;:11;;;-a,,;,11~re;---         -   - -- -



                                                                                                                Pri11/ed name and title
